          Case 1:20-cv-04809-TCB Document 40 Filed 12/02/20 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CORECO JAQUAN PEARSON,

et al.,                                        CIVIL ACTION FILE
                                               No. 1:20-cv-4809-TCB
                    Plaintiffs,
         v.

BRIAN KEMP, et al.,
             Defendants.


                                  ORDER

     In light of the Eleventh Circuit Court of Appeals’ order today, this

Court’s December 4 hearing is postponed, pending further order of the

Court.


     IT IS SO ORDERED this 2d day of December, 2020.




                                     _____________________
                                     Timothy C. Batten, Sr.
                                     United States District Judge
